Information to identify the case:
Debtor
               Schoffstall Farm, LLC                                                       EIN:   27−3236804
               Name

United States Bankruptcy Court      Middle District of Pennsylvania                         Date case filed for chapter:       11      5/14/24

Case number:1:24−bk−01219−HWV
Official Form 309F2 (For Corporations or Partnerships under Subchapter v)
Notice of Chapter 11 Bankruptcy Case                                                                                                               10/01/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       Schoffstall Farm, LLC


  2. All other names used in the aka Spring Gate, aka Spring Gate Vineyard, dba Spring Gate Winery, dba Spring Gate
     last 8 years                Brewery


  3. Address                                  5790 Devonshire Road
                                              Harrisburg, PA 17112

  4. Debtor's attorney                        Robert E Chernicoff                                        Contact phone 717 238−6570
      Name and address                        Cunningham and Chernicoff PC
                                              2320 North Second Street                                   Email: rec@cclawpc.com
                                              Harrisburg, PA 17110

  5. Bankruptcy clerk's office                                                                            Hours open:
      Documents in this case may be filed                                                                 Monday − Friday 9:00 AM to 4:00 PM
      at this address.
                                              Sylvia H. Rambo US Courthouse
      You may inspect all records filed in    1501 N. 6th Street                                          Contact phone (717) 901−2800
      this case at this office or online at   Harrisburg, PA 17102
      pacer.uscourts.gov.                                                                                 Date: 5/16/24


  6. Meeting of creditors                     June 7, 2024 at 11:00 AM                                   Location:
      The debtor's representative must
      attend the meeting to be questioned The meeting may be continued or adjourned to a later           341 meeting will be held
      under oath.                         date. If so, the date will be on the court docket.             telephonically, Refer to the call−in
      Creditors may attend, but are not
      required to do so.                                                                                 instructions
                                             *** Valid photo identification and proof of social
                                                        security number are required ***

For more information, see page 2 >
Receiving Court Issued Orders and Notices by E−Mail: (1) Anyone can register for the Electronic Bankruptcy Noticing
program at ebn.uscourts.gov. (2) Only Debtors can register for DeBN (Debtor's Electronic Bankruptcy Noticing) by filing a DeBN
Request form (www.pamb.uscourts.gov/debn−form), with the Clerk of Court. Both options are FREE and allow the clerk to
quickly send you Court Issued Orders and Notices by E−Mail.




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Debtor Schoffstall Farm, LLC                                                                                    Case number 1:24−bk−01219−HWV


 7. Proof of claim deadline                Deadline for filing proof of claim:                           Not yet set. If a deadline is set, the court will
                                                                                                         send you another notice.
                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                           at www.uscourts.gov or any bankruptcy clerk's office.
                                           Your claim will be allowed in the amount scheduled unless:
                                           • your claim is designated as disputed, contingent, or unliquidated;
                                           • you file a proof of claim in a different amount; or
                                           • you receive another notice.
                                           If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                           must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                           You may file a proof of claim even if your claim is scheduled.
                                           You may review the schedules at the bankruptcy clerk's office or online at pacer.uscourts.gov.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                           proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                           explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                           rights, including the right to a jury trial.


 8. Exception to discharge                 If § 523(c) applies to your claim and you seek to have it
    deadline                               excepted from discharge, you must start a judicial
    The bankruptcy clerk's office must     proceeding by filing a complaint by the deadline stated
    receive a complaint and any            below.
    required filing fee by the following   Deadline for filing the complaint:                             August 6, 2024
    deadline.


                                           If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
 9. Creditors
    address
              with a foreign               extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                           have any questions about your rights in this case.


                                           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                           court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 10. Filing a Chapter 11
     bankruptcy case
                                           and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                           hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                           trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                           business.


                                           Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                           debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
 11. Discharge of debts                    debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                           discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                           paying the filing fee in the bankruptcy clerk's office by the deadline.




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